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Edward P. Boland VA Medical Center
‘VA Central Western Massachusetts

Healthcare System
421 North Main Street
Leeds, MA 01053-9764

U.S. Department of Veterans Affairs

Veterans Health Administration

14 July 2022

Ashley M. Sheffield

Re: Request for Authorization for Service-Connected Infertility/ART/IVF Services

Dear Ashley:

We have carefully evaluated your request that VA authorize service-connected infertility services,
including in-vitro fertilization (IVF), if indicated, for you and/or your spouse.

Ineligibility Determination: It has been determined that you do not meet the eligibility criteria for the
reasons discussed below.

For VA to authorize service-connected infertility services, including IVF, if indicated, for you and/or
your spouse, the following must be established:

1) You have been evaluated by an infertility specialist and received an infertility diagnosis; and

2) You are a Veteran who has a service-connected condition that results in the inability to
procreate without fertility treatment; and

3) You are legally married; and

4) You and your spouse have: (a) testicular tissue from which sperm can be retrieved and/or
autologous (i.e., obtained from self) cryopreserved sperm available; (b) at least one ovary that
is able to make eggs and/or autologous cryopreserved oocytes (i.e., eggs) available; and (c)
the presence of a uterus. The need for or use of donor eggs, sperm, or embryos, and/or
gestational surrogacy renders a Veteran and their spouse ineligible for service-connected
infertility/IVF services.

These eligibility criteria are established by law and VA develops relevant policy to comply with these
laws. See Consolidated Appropriations Act, 2022, P.L. 117-103, Division J, Title Il, Section 234; 38
C.F.R. §§ 17.380 and 17.412; and VHA Directive 1334, In Vitro Fertilization Counseling and Services
Available to Certain Eligible Veterans and Their Spouses, dated March 12, 2021, available at:
www.va.gov/vhapublications/ViewPublication.asp?pub_ID=5431.

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You do not meet the eligibility criteria for VA to authorize the requested services because, based on a
review of your August 17, 2021, through December 22, 2021, electronic health records, it has been
determined that neither you nor your spouse have testicular tissue from which sperm can be retrieved
or autologous cryopreserved sperm available. Because you do not meet this eligibility requirement,
VA did not evaluate your eligibility for service-connected infertility services, including IVF, if indicated,
under the other criteria listed above.

Although you are ineligible for service-connected infertility services, including IVF, if indicated, from
VA, VA's medical benefits package includes other fertility evaluation, management, and treatment
services, which do not have the same eligibility requirements as those listed above. These fertility
services include, but are not limited to, preconception counseling and evaluation, laboratory blood
testing, screening and diagnostic testing, surgical correction of structural pathology, reversal of tubal
ligation, and intrauterine insemination. Additionally, if needed, you may be eligible for fertility
medications, including those needed for ovulation stimulation and/or induction. For more information
on the fertility services and treatments available to Veterans, see VHA Directive 1332(2), Fertility
Evaluation and Treatment, dated June 20, 2017, available at:
www.va.gov/vhapublications/ViewPublication.asp?pub_ID=5431.

WHAT TO DO IF YOU DISAGREE WITH THE DECISION: If you disagree with this decision, you may
seek further review. You have one year from the date of this letter to select a review option in order to protect
your initial filing date for effective date purposes. You must file your request on the required application form
for the review option desired. The table below represents the review options and their respective required
application form.

Review Option Required Application Form

Supplemental Claim VA Form 20-0995, Decision Review
Request: Supplemental Claim

Higher-Level Review VA Form 20-0996, Decision Review
Request: Higher-Level Review

Appeal to the Board of Veterans’ VA Form 10182, Decision Review

Appeals Request: Board Appeal (Notice of
Disagreement)

Please note: You may not request a higher-level review of a higher-level review decision issued by VA.

The enclosed V4 Form 10-0998, Your Rights to Seek Further Review of Our Healthcare Benefits Decision,
explains your options in greater detail and provides instructions on how to request further review. You may
download a copy of any of the required forms noted above by visiting www.va.gov/vaforms/ or you may
contact us by telephone at 413-584-4040 and we will mail you any form you need. For your convenience, I have
also enclosed a copy of the 10-0998 with this mailing.

HOW TO OBTAIN OR ACCESS INFORMATION USED IN MAKING THIS DECISION: You may
request a copy of the evidence we used to make our decision. If you would like to obtain or access evidence
used in making this decision, please contact us by telephone, email or letter as noted below letting us know
what you would like to obtain. Some evidence may be obtained only by visiting www.va.gov.

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Please be advised, VA does not have legal authority to pay for or reimburse fertility services it has not
authorized. However, if, at any point, your circumstances change and you believe you are eligible for
service-connected infertility, assisted reproductive technology, and/or IVF services, you may request
a new eligibility evaluation. Likewise, if at any point, the law changes to expand the eligibility criteria
for infertility services and IVF through VA, if indicated, you may request a new eligibility evaluation.

If you have any questions, please contact your patient advocate and/or Dr. Ilvan E. Correa at 413-
584-4040.

Best regards,

GOA
lan E. Correa,
Acting Chief of Staff

CC: Michael Stefanilo, Jr.
Brody, Hardoon, Perkins & Kesten, LLP
699 Boylston Street, 12" Floor
Boston, MS 02116

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WY Department of

Veterans Affairs

YOUR RIGHTS TO SEEK FURTHER REVIEW
OF OUR HEALTHCARE BENEFITS DECISION

If you received a VHA decision on your claim for healthcare benefits, and are dissatisfied or disagree with the decision, in whole or
part, you have ONE YEAR to initiate further review by completing and submitting one of the forms described below.

What are my review options?

VA offers 3 types of review, but not all types of review are available in every case. Below is a description of cach type of review and
an explanation when cach type is available.

This chart describes availability of review options:

I am a Veteran,
Beneficiary, or Other

: ‘ ; lam a Service Provider | | am a Service Provider
Review Options Person Who Paid ——

fora Veteran or (Not Under Contract) Under Contract
Beneficiary’s treatment
Supplemental Claim Available Not Available Gt Avatahls.

See Contract Terms.

Not Available.

Higher-Level Review Available Not Available
See Contract Terms.

Not Available.

Appeal to the Board Available Available ee a
See Contract Terms.

+ Supplemental claim. If available, you should file a supplemental claim if VHA does not have all the evidence to accurately decide
your claim.

* Higher level review. If available, you should file a request for higher level review if VHA has all the necessary evidence, but you
would like VHA to take another look at the claim and see if a new decision can be supported.

* Appeal to the Board of Veterans’ Appeals. You should appeal to the Board of Veterans’ Appeals if you would like a Veteran's
Law Judge to review your claim.

FAQs:
How do | request review by VA of my decision?
To select a review option, you must submit the appropriate form to the appropriate office for review.

For a Supplemental Claim, review your decision notice letter for the required forms and ways to submit the request. Either enclose
or identify the NEW and RELEVANT EVIDENCE, not previously considered by VA, that you believe supports your claim. If you
want VA to help you gather records, complete and return the appropriate Release of Information Form:

21-4142, Authorization to Disclose Information to the Department of Veterans Affairs (VA) or

21-4142a, General Release for Medical Provider Information to the Department of Veterans Affairs (VA).

For a Higher-Level Review, complete VA Form 20-0996, Decision Review Request: Higher-Level Review, and consult your
decision notice letter for the required ways to submit the request.

To Appeal to the Board, complete VA Form 10182 - Decision Review Request: Board Appeal (Notice of Disagreement) and send
the form to:

Board of Veterans' Appeals P.O. Box 27063 Washington, DC 20038 Fax: 844-678-8979

For more information on the Board of Veterans’ Appeals, see https://www.bva.va.gow/.

All forms are also available at http://www.va.gov/vaforms/.

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war 2019 10-0998 :
